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                                                                               Chris Daniel - District Clerk Harris County
                                                                                                 Envelope No. 16724888
                               2017-28505     / Court: 011
                                   NO. _________________
                                                                                                         By: Nelson Cuero
                                                                                          Filed: 4/28/2017 11:38:00 AM


SCOTT PLACE PHARMACY, LLC                       §    IN THE DISTRICT COURT _____
                                                §    JUDICIAL DISTRICT OF HARRIS
                                                §    COUNTY, TEXAS
                               Plaintiff        §
                     V.                         §
                                                §
UNITED HEALTH CARE OF TEXAS                     §
OptumRx, LLC                                    §




                                                             P
                                                          QJW
                 Defendant.                     §




                                                       Y(
                               PLAINTIFF'S ORIGINAL PETITION




                                                    WNH
                                                 NXY
TO THE HONORABLE JUDGE OF SAID COURT:




                                              Q)
       NOW COMES Plaintiff Scott Place Pharmacy, LLC, and for its causes of action against




                                           SNJ
Defendants United Health Care, Inc., and OptumRx, LLC states as follows:
                                         )F
                          I.       DISCOVERY CONTROL PLAN LEVEL
                                      NX
                                    MW

       1. Discovery should be conducted under T.R.C.P. 190, Level 2.
                                  (



                                       II. JURISDICTION AND VENUE
                                TK
                              J




       2. The subject matter in controversy is within the jurisdictional limits of this court under
                          KKNH




          Tex. Bus. & Comm. Code §15.21(1), and V.T.C.A. Insurance Code Art. §21.52B. The
                       ^4




          sum or value of the amount in controversy is more than $200,000 but less than
                     TU
                   (




          $1,000,000 and therefore is in excess of the minimum jurisdictional limits of this Court.
                NFQ




                                     II.   PARTIES & SERVICE
             KNH




       3. Plaintiff Scott Place Pharmacy (“SPP”), a duly organized Texas limited liability
           TK
         :S




          company, was formed in August 2016 as an independent pharmacy, and is located at

          8990 Kirby Dr. Suite 240, Houston, TX 77054.

       4. Defendant United Health Care, (“Defendant UHC”) is a Minnesota based corporation,

          and is a registered foreign corporation in the State of Texas. Service of process can be



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                                                                                     Exhibit F
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     made at its resident agent CT Corporation System 1999 Bryan St., Ste. 900 Dallas,

     TX 75201 by personal delivery or certified mail.

  5. Defendant OptumRx, LLC, (“Defendant ORX”) is a California based limited liability

     company, and is a registered foreign corporation in the State of Texas. Service of

     process can be made at its resident agent CT Corporation System 1999 Bryan St., Ste.




                                                        P
     900 Dallas, TX 75201 by personal delivery or certified mail.




                                                     QJW
                                                  Y(
  6. Defendant UHC own and controls its subsidiary Defendant ORX in all operations,




                                               WNH
     including policy making and credentialing of independent pharmacies.




                                            NXY
  7. Venue in Harris County is proper because all facts concerning this action arose mainly




                                         Q)
                                      SNJ
     in Harris County, TX.

                              III.  )F
                                     NATURE OF CASE
                                 NX
  8. Plaintiff SPP is a duly licensed Texas pharmacy, and meets all credentialing
                               MW
                             (


     requirements of every Pharmacy Benefits Manager, including Defendants. Plaintiff
                           TK




     SPP brings this action against Defendants UHC and ORX for their unlawful restraint
                         J
                     KKNH




     of trade and abuse of their significant market power in the prescription insurance
                  ^4




     benefits and claims processing markets to automatically, arbitrarily, and in bad faith
                TU




     delay and/or deny credentialing of Plaintiff and other Pharmacies in violation of Texas’
              (




     unfair trade practices, anti-trust, and Texas Insurance Code.
           NFQ
        KNH




                                     IV.    FACTS
      TK




     About Defendant UHC
    :S




  9. Defendant UHC is a healthcare insurance company that sells health and prescription

     insurance plans throughout the United States, and Texas. UHC also owns and operates

     co-Defendant ORX, a pharmacy benefits manager that processes prescription claims

     for Defendant UHC’s prescription health plans, and other healthcare plans, including


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     Medicare and Medicaid.

  10. Defendant UHC unfortunately has a disreputable history of fraud, dishonesty and bad

     faith dealings with its own customers, third parties such as physicians and pharmacies,

     last but not least federal and state government agencies.

  11. Defendant UHC has been repeatedly found guilty and liable for serious fraud, and




                                                        P
     violation of health care waste fraud and abuse laws. The following are a but a few




                                                     QJW
                                                  Y(
     examples of Defendant UHC’s fraudulent and bad faith dealings:




                                               WNH
         a. Fines for Medicare/Medicaid fraud of $10,400,000 and Non-Medicare Fraud




                                            NXY
            Fines of $548,424,550 million.




                                         Q)
                                      SNJ
         b. On July 16, 2015, federal regulators fined United HealthCare Services, Inc. with

                                    )F
            “unusual fines for giving policyholders incomplete or inaccurate information
                                 NX
            about costs and benefits.
                               MW
                             (


         c. In October 2013, CMS levied financial penalties for violations related to
                           TK




            beneficiary notices in Medicare Advantage or Medicare Part D.
                         J
                     KKNH




         d. In 2006, Defendant’s CEO was fired for stock option scandal.
                  ^4




         e. In October 2007, Defendant UHC was sanctioned by the State of Minnesota for
                TU




            poor claims handling processes over a period of over 5 years, and incurred huge
              (




            fines and penalties.
           NFQ
        KNH




         f. In November 2007, Defendant UHC was fined by the Texas Department of
      TK




            Insurance $4.4 million dollars for failure to promptly pay claims relating to
    :S




            healthcare provider practices in North Houston.

         g. In January 2008, California fined Defendant UHC $3.5 million for poor claim

            handling. The California Insurance Commissioner cited UHC for over 130,000

            handling violations and said that Defendant UHC may be subject to $1.3 billion


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              in penalties.

         h. In March 2006, Arizona fined Defendant UHC $364,750 in civil penalties for

              violating state insurance laws.

         i. Defendant UHC is currently a defendant in massive class action lawsuits in

              California and Texas for defrauding thousands of patients out of millions of




                                                        P
              dollars concerning residential treatment claims.




                                                     QJW
                                                  Y(
  12. Defendant UHC’s fraudulent history is relevant to this case as it reveals the type of bad




                                               WNH
     faith and fraud UHC utilizes in its dealings with customers and competitors.




                                            NXY
  13. Defendant UHC and Defendant ORX are virtually inseparable. Defendant UHC uses




                                         Q)
                                      SNJ
     its own employees to process pharmacy credentialing applications for ORX, and then

                                    )F
     uses ORX as a middleman between pharmacies and UHC’s own healthcare plans, as
                                 NX
     well as other healthcare plans such as Medicare/Medicaid.
                               MW
                             (


  14. Defendant UHC and ORX then use their market power to delay the credentialing of
                           TK




     pharmacies, such as Plaintiff SPP, to undermine them financially, and prevent
                         J
                     KKNH




     independent pharmacies from becoming competitors to UHC and ORX.
                  ^4




  15. This fraudulent practice of delaying Plaintiff’s application, enables Defendants to steer
                TU




     Plaintiff’s patient to their own affiliate Walgreens, and their own mail order pharmacy
              (




     OptumRx Pharmacy.
           NFQ
        KNH




  Restraint on Trade and Abuse of Monopoly
      TK




  16. Upon information, Defendants UHC and ORX control nearly 50 percent of the
    :S




     prescription claims market in the Houston-Metro area.

  17. Defendants, through their market power, unlawfully restrain trade using the following

     unlawful tactics:

         a.   delay and frustrate the credentialing process of independent pharmacies such


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             as Plaintiff,

         b. discriminate against retail pharmacies by requiring patients to pay mandatory

             co-pays, while waiving the same co-pays for customers who use OptumRx

             Pharmacy, and upon information, Walgreens (an affiliate of Defendants).

         c. use trade secrets and patient lists of pharmacies to directly contact them and




                                                        P
             refer them to Defendants’ own affiliate pharmacies.




                                                     QJW
                                                  Y(
  18. Defendants UHC and ORX are aware that for Plaintiff SPP to survive financially,




                                               WNH
     Plaintiff must be able to submit claims for reimbursement on behalf of its customers.




                                            NXY
  19. Plaintiff repeatedly warned Defendants that their continued and baseless credentialing




                                         Q)
                                      SNJ
     delays is causing Plaintiff serious financial harm.

                                    )F
  20. Defendants are also aware that pharmacies that meet Defendants’ credentialing
                                 NX
     requirements, such as Plaintiff SPP, are entitled under Article 21.52B, Section 2(a) of
                               MW
                             (


     the Texas Insurance Code, to apply for credentialing and enter Defendants’ network
                           TK




     without delay.
                         J
                     KKNH




  21. Defendants, consistent with their proven history of fraudulent practices, chose to delay
                  ^4




     the processing of Plaintiff’s credentialing application. Defendant did so in a
                TU




     discriminatory and unreasonable manner to eliminate market competition in favor of
              (




     Walgreens (Defendant’s affiliate) and Defendant’s own mail-order business OptumRx
           NFQ
        KNH




     Pharmacy.
      TK




  22. This unlawful credentialing policy is used to destroy the precarious financial position
    :S




     of new independent pharmacies especially in a new pharmacy’s first year of operation.

  23. In so doing, Defendants unlawfully eliminate competition in the prescription market

     and limit the choice of pharmacies available to consumers.

  24. Accordingly, Defendants have every incentive to deny, delay, and frustrate


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              independent pharmacies, such as Plaintiff, from entering their network.

          25. Nothing under Texas law permits Defendants to delay credentialing of any pharmacy

              that meets Defendants’ credentialing requirements.

          26. Upon information, Defendants cite Houston’s federal HEAT 1 zone designation as a

              reason for delaying credentialing. However, the HEAT acronym refers to a U.S. Dept.




                                                                 P
              of Justice program to increase federal resources in certain areas with heightened




                                                              QJW
                                                           Y(
              healthcare fraud and abuse. The “HEAT” zone issue is no excuse to delay a pharmacy’s




                                                        WNH
              right to be timely credentialed by Defendants.




                                                     NXY
          27. Defendants’ contrived use of the HEAT designated zones to delay credentialing is




                                                  Q)
                                               SNJ
              precisely the type of bad faith and unfair trade practices used by Defendants to restrain

                                             )F
              trade and destroy competition in the prescription drug market.
                                          NX
          28. It is worth repeating Defendants’ well-known reputation for healthcare fraud and abuse.
                                        MW
                                      (


              Defendants contrived use of the HEAT designation as an excuse to delay credentialing
                                    TK




              of competing new pharmacies demonstrate Defendants’ bad faith and restraint on trade.
                                  J
                              KKNH




Defendants Bad Faith & Unfair Credentialing Process
                           ^4




          29. Between February and April 2017, Defendant UHC lied and misrepresented to Plaintiff
                         TU




              that it would process its credentialing application in a timely manner.
                       (




          30. On April 4, 2017, two inspectors from Defendant UHC, Michelle Luong and Kyle
                    NFQ
                 KNH




              Velazquez (“Velazquez”), came to inspect Plaintiff SPP. Both inspectors advised
               TK




              Plaintiff that UHC acts on behalf of ORX in all credentialing matters.
             :S




          31. Plaintiff SPP fully cooperated with the inspection, and successfully passed Defendants’

              inspections.



1
    “HEAT” stands for Health Care Fraud Prevention & Enforcement Action Team.


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  32. After the inspection was completed, Plaintiff SPP advised Defendants’ again that

     UHC’s credentialing delays are causing Plaintiff SPP serious financial harm.

  33. But Mr. Velazquez appeared uninterested in the delays, and began to ask personal

     questions about Plaintiff SPP’s owner and why the owner was interested in buying a

     pharmacy. None of these questions had any bearing or relation on the credentialing




                                                        P
     requirements of Plaintiff SPP.




                                                     QJW
                                                  Y(
  34. Mr. Velazquez then began asking personal questions about the consulting pharmacist,




                                               WNH
     such as where he worked, and if he works other jobs. Mr. Velazquez repeatedly referred




                                            NXY
     in a condescending manner to Plaintiff SPP as a “mom and pop” pharmacy as if such




                                         Q)
                                      SNJ
     designation warrants a different treatment.

                                    )F
  35. No other pharmacy benefits manager or insurance company ever asked Plaintiff
                                 NX
     questions about its owner’s personal life, and why the owner would be interested in
                               MW
                             (


     buying a pharmacy.
                           TK




  36. Immediately after the inspection on April 4, 2017, Plaintiff SPP asked Mr. Velazquez
                         J
                     KKNH




     to put in writing any concerns or questions Mr. Velazquez may have concerning
                  ^4




     Plaintiff’s credentialing application, and any concerns Defendants may have with
                TU




     Plaintiff’s staff and employees. Mr. Velazquez never responded. To date, Defendants
              (




     have not raised a single problem with the credentialing application, yet continue
           NFQ
        KNH




     to delay Plaintiff’s credentialing application.
      TK




  37. All Plaintiff’s employees, consultants, advisors, suppliers, vendors are duly licensed,
    :S




     in good standing, with outstanding work ethics.

  38. On or about April 20, 2017, Plaintiff contacted Mr. Velazquez again and asked about

     the status of the credentialing application. Mr. Velazquez answered that the application

     was no longer in his hands and was forwarded to his supervisor Nancy Halter in


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     Michigan.

  39. Plaintiff SPP then contacted Ms. Halter to inquire about the status of the credentialing

     application. Like Velazquez, Ms. Halter gave the same excuse: application is still under

     study.

  40. Defendants’ pattern of delaying applications and insurance claims, lying to state and




                                                        P
     federal investigators, physicians, beneficiaries, and pharmacy owners, is part of a




                                                     QJW
                                                  Y(
     persistent fraudulent and bad faith dealings to cause competitors financial losses and to




                                               WNH
     allow Defendants to take unfair advantage because of their pervasive market power in




                                            NXY
     the Houston-Metro area.




                                         Q)
                                      SNJ
  41. Defendants therefore have every incentive to not credential new pharmacies such as

                                    )F
     Plaintiff SPP to undermine their financial position, and to unlawfully reduce
                                 NX
     competition.
                               MW
                             (


                                 CONDITIONS PRECEDENT
                           TK




  42. All conditions precedent to filing of this case, have been performed, have occurred, or
                         J
                     KKNH




     have been satisfied.
                  ^4




                                   V. CAUSES OF ACTION
                TU




                            FIRST CAUSE OF ACTION
                 VIOLATION OF VTCA Bus. & C. Code §15.05(a) (TFEAA)
              (
           NFQ




  43. Plaintiff incorporates by reference the allegations set forth above as if the same were
        KNH




     fully set forth herein.
      TK
    :S




  44. Plaintiff SPP is a duly licensed independent pharmacy and fully meets the requirements

     of Defendants’ credentialing requirements.

  45. Defendants strong market position enable them to delay, frustrate, and exclude

     pharmacies from their network and eliminate competition.



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  46. Defendants used their market power to maliciously delay and unlawfully eliminate any

     competition from Plaintiff SPP.

  47. Defendants play a significant role in reducing competition in the retail prescription

     market in Texas by protracting and delaying the credentialing of new retail pharmacies.

  48. Accordingly, Defendants are therefore liable for violation of Tex. Bus. & C. Code




                                                        P
     §15.05(a).




                                                     QJW
                                                  Y(
                       SECOND CAUSE OF ACTION
     VIOLATION of TEXAS INSURANCE CODE Article 21.52B, Section 2(a)




                                               WNH
                                            NXY
  49. Plaintiff SPP incorporates by reference the allegations set forth above as if the same




                                         Q)
     were fully set forth herein.




                                      SNJ
  50. Plaintiff SPP is a duly licensed pharmacy, fully stocked, equipped and staffed. It
                                    )F
     underwent full inspections by the Texas Board of Pharmacy and other Pharmacy
                                 NX
                               MW

     Benefits Managers with no issue, and meets all Defendants credentialing requirements.
                             (



  51. On or about December 15, 2016, Plaintiff SPP duly and timely filed its application for
                           TK
                         J




     credentialing with Defendants through Access Health, a service provider for
                     KKNH




     pharmacies.
                  ^4




  52. On February 14, 2017, Plaintiff filed another credentialing application directly with
                TU




     Defendant ORX.
              (
           NFQ




  53. On April 4, 2017, Defendants inspected Plaintiff SPP. Plaintiff SPP passed that
        KNH




     inspection as well as every other inspection from the Texas State Board of Pharmacy
      TK
    :S




     and other insurance providers.

  54. Defendants have no basis to delay the credentialing of Plaintiff SPP other than their

     desire to eliminate competition in the prescription drug market.

  55. Defendants’ credentialing polices violated Article 21.52B, Section 2(a) of the Texas



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              Administrative Code which prohibits Defendants from denying Plaintiff SPP “the right

              to participate as a contract provider under the policy or plan if Plaintiff meets all terms

              and requirements of Defendants’ plan.


                                            VI. DAMAGES

       56. Plaintiff has sustained damages more than this Court's jurisdictional minimum, because




                                                              P
                                                           QJW
of the actions and/or omissions of Defendants OptumRx described hereinabove, including, but not




                                                        Y(
limited to:




                                                     WNH
                                                  NXY
                 (a)     Liquidated, Special or consequential damages for profits lost as a result of




                                               Q)
       Defendant Prime Therapeutics’ willful delay in credentialing of pharmacies, and violation




                                            SNJ
       of Plaintiff SPP’s trade secrets.

                 (c)
                                          )F
                         Punitive damages in the amount to be determined at trial.
                                       NX
                                     MW

                                      VII. ATTORNEY'S FEES
                                   (



       57.       Request is made for all costs and reasonable and necessary attorney's fees incurred
                                 TK
                               J




by or on behalf of Plaintiff herein, including all fees necessary in the event of an appeal of this
                           KKNH




cause to the Court of Appeals and the Supreme Court of Texas, as the Court deems equitable and
                        ^4




just, as provided by Chapter 38 of the Texas Civil Practice and Remedies Code.
                      TU




                              VIII. ALTERNATIVE ALLEGATIONS
                    (
                 NFQ




       58.       Pursuant to Rules 47 and 48, Texas Rules of Civil Procedure and the rules of
              KNH




pleadings, allegations in this petition are made in the alternative.
            TK
          :S




                                             IX. PRAYER

       59. WHEREFORE, PREMISES CONSIDERED, Plaintiff, respectfully prays that the

Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,

judgment be entered for the Plaintiff against Defendant for the following relief and damages:



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       a. Damages to be determined at trial requested hereinabove in an amount in excess of

       the minimum jurisdictional limits of the Court, together with prejudgment and post-

       judgment interest at the maximum rate allowed by law, attorney's fees, costs of court,

       constructive trust, and such other and further relief to which the Plaintiff may be

       entitled at law or in equity, whether pled or unpled.




                                                          P
b. For preliminary and permanent injunctive relief enjoining Defendant, its agents, servants




                                                       QJW
                                                    Y(
   and employees, and all persons acting in concert with them, from engaging in, and




                                                 WNH
   continuing to engage in, the unfair trade practices alleged above and that may yet be




                                              NXY
   discovered in the prosecution of this action.




                                           Q)
                                        SNJ
                                      )F
   PLAINTIFF HEREBY DEMANDS TRIAL BY JURY ON ALL ISSUES
                                   NX
                                 MW

                                         Respectfully submitted,
                               (



                                         DeWood, P.C.
                             TK
                           J




                                         By: /s/ Nizar A. DeWood
                       KKNH




                                             Nizar A. DeWood, Esq.
                                             Texas Bar No. 24091997
                    ^4




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                (




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             NFQ
          KNH
        TK
      :S




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